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                    EXHIBIT F

        Plaintiff’s Motion for an Award of Attorneys’ Fees and Costs

   Citizens for Ethics and Responsibility in Washington v. Dep’t of Justice,
                           Civ. No. 11-0374 (CRC)
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A nationwide sampling of law firm billing rates                                                                                                                   12/13/13 2:34 PM




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A nationwide sampling of law firm billing rates                                                                                                                                               12/13/13 2:34 PM


                                                                                                                                 Average FTE
       Firm                                                                           Largest U.S. office* !                                      High            Low          Median
                                                                                                                                 attorneys*

         Hogan Lovells                                                                  Washington                                        2,253          $1,200         $545        $750

         Dickstein Shapiro                                                              Washington                                         343           $1,250         $560        $700

         Patton Boggs                                                                   Washington                                         491            $990          $425        $665

         Holland & Knight                                                               Washington                                         908            $985          $315        $560

         Shumaker, Loop & Kendrick                                                      Toledo, Ohio                                       219            $570          $280        $390

         Hiscock & Barclay                                                              Syracuse, N.Y.                                     165            $650          $235        $441

         Bryan Cave                                                                     St. Louis                                          884            $795          $390        $553

         Husch Blackwell                                                                St. Louis                                          520            $890          $240        $405

         Thompson Coburn                                                                St. Louis                                          309            $750          $330            N/A

         Perkins Coie                                                                   Seattle                                            747            $910          $290        $560

         Sedgwick                                                                       San Francisco                                      343            $587          $189        $361

         Harris Beach                                                                   Rochester, N.Y.                                    189            $625          $285        $400

         Best Best & Krieger                                                            Riverside, Calif.                                  191            $625          $310        $435

         Stoel Rives                                                                    Portland, Ore.                                     374            $655          $300        $463

         Lewis and Roca                                                                 Phoenix                                            183            $725          $410        $520


       * Full-time equivalent attorney numbers and largest U.S. office are from the NLJ 350 published in March and April 2012.



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